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                                 EXHIBIT 3
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OUR COMPANY



Johnson & Johnson Announces Plans to Accelerate Innovation, Serve
Patients and Consumers, and Unlock Value through Intent to Separate
Consumer Health Business
New Consumer Health Company would be a Global Leader with Iconic Brands and Products that Touch Over One
                                       Billion Lives Every Day

  Johnson & Johnson would Remain a Global Leader in Healthcare, Focused on Major Unmet Medical Needs and
     Materially Advancing Standard of Care through Biopharmaceutical and Medical Device Innovation and
                                                Technology

     Separation Designed to Enhance Operational Performance and Strategic Flexibility, Benefiting Patients and
                               Consumers and Unlocking Value for All Stakeholders

                   New Consumer Health Company Expected to Complete Separation in 18 to 24 Months

                          Johnson & Johnson to Host Investor Conference Call Today at 8:30 a.m. ET

NEW BRUNSWICK, N.J. November 12, 2021– Johnson & Johnson (the “Company”) (NYSE: JNJ) today announced its intent to
separate the Company’s Consumer Health business, creating a new publicly traded company. The planned separation would create
two global leaders that are better positioned to deliver improved health outcomes for patients and consumers through innovation,
pursue more targeted business strategies and accelerate growth.

Following the planned separation, the new Johnson & Johnson would remain the world’s largest and most diverse healthcare company
and continue its commitment to lead in global healthcare R&D and innovation, with a portfolio that blends its strong Pharmaceutical
and Medical Device capabilities focused on advancing the standard of care through innovation and technology. As previously
announced, Mr. Alex Gorsky will serve as Executive Chairman of Johnson & Johnson and transition the Chief Executive Officer role to
Mr. Joaquin Duato, currently Vice Chairman of the Company’s Executive Committee, effective January 3, 2022. Mr. Duato would
continue to lead the new Johnson & Johnson following completion of the planned separation.

The New Consumer Health Company would be a leading global consumer health company, touching the lives of over one billion
consumers around the world every day through iconic brands such as Neutrogena, AVEENO®, Tylenol®, Listerine®, JOHNSON’s®,
and BAND-AID® and continuing its legacy of innovation. The New Consumer Health Company’s Board of Directors and executive
leadership would be determined and announced in due course as the planned separation process progresses.

Mr. Gorsky said, “Throughout our storied history, Johnson & Johnson has demonstrated that we can deliver results that benefit all our
                                                                                                                                             




stakeholders, and we must continually be evolving our business to provide value today, tomorrow and in the decades ahead. Following

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                             Exhibit   3 to Declaration      of  Daniel     J.  Merrett       Page    3 of 6
a comprehensive review, the Board and management team believe that the planned separation of the Consumer Health business is
the best way to accelerate our efforts to serve patients, consumers, and healthcare professionals, create opportunities for our talented
global team, drive profitable growth, and – most importantly – improve healthcare outcomes for people around the world.”

Mr. Gorsky continued, “For the new Johnson & Johnson, this planned separation underscores our focus on delivering industry-leading
biopharmaceutical and medical device innovation and technology with the goal of bringing new solutions to market for patients and
healthcare systems, while creating sustainable value for shareholders. We believe that the New Consumer Health Company would be
a global leader across attractive and growing consumer health categories, and a streamlined and targeted corporate structure would
provide it with the agility and flexibility to grow its iconic portfolio of brands and innovate new products. We are committed to the
success of each organization, as well as our company’s more than 136,000 employees around the globe, who will remain the
backbone of these businesses.”

Mr. Duato commented, “This planned transaction would create two businesses that are each financially strong and leaders in their
respective industries. We believe that the new Johnson & Johnson and the New Consumer Health Company would each be able to
more effectively allocate resources to deliver for patients and consumers, drive growth and unlock significant value. Importantly, the
new Johnson & Johnson and the New Consumer Health Company would remain mission driven companies with exceptional brands,
commitments to innovation, and remarkable talent. Each company would carry on the Johnson & Johnson legacy of putting the needs
and well-being of the people we serve first.”

The planned separation is expected to create value for all stakeholders by aiming to achieve the following key goals:

        Increase management focus, resources, agility and speed to effectively address differing industry trends and to better meet the
        needs of the new Johnson & Johnson and the New Consumer Health Company patients and consumers;
        Further focus capital allocation based on the objectives of each independent company;
        Provide each company with a compelling financial profile that more accurately reflects the strengths and opportunities of each
        business and, as a result, offers investors a more targeted investment opportunity; and
        Align corporate and operational structures so each company is better able to drive growth and value creation.

New Johnson & Johnson: An Innovative Pharmaceuticals and Medical Devices Leader with Sharpened Focus on Major
Unmet Medical Needs and Advancing Standard of Care for Patients Around the World
Following the planned separation, the new Johnson & Johnson would remain the world’s largest and most diverse healthcare company
and maintain a portfolio that blends its strong Pharmaceutical and Medical Device capabilities focused on materially advancing the
standard of care through biopharmaceutical and medical device innovation and technology. Leveraging its long-standing strength in
core areas of science, technology, regulatory, supply chain and global commercial reach, the new Johnson & Johnson would continue
to build on its offering of life-saving treatments, including DARZALEX, ERLEADA, IMBRUVICA, STELARA and TREMFYA, as well as
medical device solutions across interventional solutions, orthopaedics, surgery and vision.

The new Johnson & Johnson would remain committed to changing the trajectory of human health. The Pharmaceutical and Medical
Devices segments, which are expected to generate revenue of approximately $77 billion in Full-Year 2021[1], are united by their
shared and complementary focus on scientific research and development to serve similar end users – patients and healthcare
providers – and operate in similar regulatory and competitive environments. The new Johnson & Johnson is expected to be better
positioned to combine skills, expertise and approaches to bring integrated, comprehensive and more impactful care to patients,
addressing diseases in areas such as oncology and eye health that require a combination of surgical, interventional and
pharmaceutical treatments. The new Johnson & Johnson would continue to play a leading role in advancing the industry forward by
creating novel solutions, bringing together treatments spanning therapeutics, robotics, artificial intelligence and more, to change the
way diseases are prevented, intercepted and eventually cured.
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The Pharmaceutical business would continue to generate sustained above market growth by advancing its strong portfolio and
pipeline of products, accelerating key therapeutic areas, such as oncology and immunology, while also advancing new therapeutic
modalities such as cell and gene therapies. At the same time, the Medical Devices business would plan to accelerate its momentum
across orthopaedics, interventional solutions, surgery and vision, with an increased cadence of meaningful innovation enabled by a
strong digital surgery pipeline and focus on execution across all geographies.

The new Johnson & Johnson would remain committed to maintaining a strong balance sheet and to its stated capital allocation
priorities of R&D investment, competitive dividends and value-creating acquisitions.

New Consumer Health Company Post-Separation: A Leading Global Consumer Health Company with Iconic Brands
and Commitment to Continued Innovation
The New Consumer Health Company would be a global leader with a powerful portfolio of iconic brands — comprising four $1 billion
megabrands and 20 brands over $150 million — and leading positions in Self Care (OTC), Skin Health and Essential Health, which
includes baby care, feminine care, wound care and oral health. The Consumer Health segment is expected to generate revenue of
approximately $15 billion in Full-Year 2021[2] and, following the planned separation, the New Consumer Health Company would
generate sales in over 100 countries, driven by world-class innovation capabilities and demonstrated business momentum.

In recent years, Johnson & Johnson has focused the Consumer Health business and advanced its innovation, enabling it to reach more
consumers with products that truly make a difference in peoples’ lives, while simultaneously expanding margins and delivering healthy
financial results. These actions have bolstered positions in Self Care, Skin Health and Essential Health.

The New Consumer Health Company would be expected to benefit from a strong investment grade profile and balance sheet that
would allow it to build on its long history of innovation and maintain and extend its leadership position across important and growing
categories.

The planned organizational design for the New Consumer Health Company is expected to be completed by the end of 2022 and will
be subject to legal requirements including consultation with works councils and employee representatives, as required. Planned New
Consumer Health Company employees are expected to continue participating in their current Johnson & Johnson pay, benefits and
retirement programs through the end of 2022.

Transaction Details
The Board of Directors’ intent is to effect the planned separation through the capital markets, creating two independent, market-
leading companies. The transaction is intended to qualify as a tax-free separation for U.S. federal income tax purposes.

In addition, it is expected that the overall shareholder dividend will remain at least at the same level following the completion of the
transaction.

The Company is targeting completion of the planned separation in 18 to 24 months, subject to the satisfaction of certain conditions
including, among others, consultations with works councils and other employee representative bodies, as required, final approval of
Johnson & Johnson’s Board of Directors, receipt of a favorable opinion and Internal Revenue Service ruling with respect to the tax-free
nature of the transaction, and the receipt of other regulatory approvals. There can be no assurance regarding the ultimate timing of the
proposed transaction or that the transaction will be completed.

Advisors
Goldman Sachs & Co. LLC and J.P. Morgan Securities LLC are acting as financial advisors to Johnson & Johnson, and Cravath,
Swaine & Moore LLP and Baker & McKenzie LLP are acting as legal counsel.
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Investor Conference Call
                           Exhibit   3 to Declaration      of  Daniel     J.  Merrett       Page    5 of 6
The Company plans to hold an investor webcast to discuss this announcement and provide opportunity for Q&A today at 8:30 a.m.
ET. The call will be hosted by Mr. Joseph Wolk, Chief Financial Officer, Mr. Alex Gorsky, Chairman and CEO, and Mr. Joaquin Duato,
Vice Chairman of the Executive Committee. The webcast is accessible at www.investor.jnj.com and telephone, for both “listen-only”
participants and financial analysts who wish to take part in the question and answer portion of the call. Please dial (877) 869-3847 in
the U.S. and (201) 689-8261 outside of the U.S.

About Johnson & Johnson
At Johnson & Johnson, we believe good health is the foundation of vibrant lives, thriving communities and forward progress. That’s why
for more than 130 years, we have aimed to keep people well at every age and every stage of life. Today, as the world’s largest and
most broadly-based healthcare company, we are committed to using our reach and size for good. We strive to improve access and
affordability, create healthier communities, and put a healthy mind, body and environment within reach of everyone, everywhere. We
are blending our heart, science and ingenuity to profoundly change the trajectory of health for humanity. Learn more at www.jnj.com.
Follow us at @JNJNews.

Cautions Concerning Forward-Looking Statements
This presentation contains “forward-looking statements” as defined in the Private Securities Litigation Reform Act of 1995 regarding,
among other things: the anticipated separation of Johnson & Johnson’s Consumer Health business; future operating and financial
performance, product development, market position and business strategy. The viewer is cautioned not to rely on these forward-
looking statements. These statements are based on current expectations of future events. If underlying assumptions prove inaccurate
or known or unknown risks or uncertainties materialize, actual results could vary materially from the expectations and projections of
Johnson & Johnson. Risks and uncertainties include, but are not limited to: Johnson & Johnson’s ability to satisfy the necessary
conditions to consummate the separation of Johnson & Johnson’s Consumer Health business on a timely basis or at all, Johnson &
Johnson’s ability to successfully separate Johnson & Johnson’s Consumer Health business and realize the anticipated benefits from
the separation, the New Consumer Health Company’s ability to succeed as a standalone publicly traded company, economic factors,
such as interest rate and currency exchange rate fluctuations; competition, including technological advances, new products and
patents attained by competitors; challenges inherent in new product research and development, including unexpected clinical trial
results, additional analysis of existing clinical data, uncertainty of clinical success and obtaining regulatory approvals; uncertainty of
commercial success for new and existing products; the impact of business combinations and divestitures; challenges to patents; the
impact of patent expirations; the ability of Johnson & Johnson to successfully execute strategic plans, including restructuring plans;
manufacturing difficulties or delays, internally or within the supply chain; product efficacy or safety concerns resulting in product
recalls or regulatory action; significant adverse litigation or government action, including related to product liability claims; changes to
applicable laws and regulations, including tax laws, global health care reforms and import/export and trade laws; trends toward health
care cost containment; changes in behavior and spending patterns of purchasers of health care products and services; financial
instability of international economies and legal systems and sovereign risk; increased scrutiny of the health care industry by
government agencies. A further list and descriptions of these risks, uncertainties and other factors can be found in Johnson &
Johnson’s Annual Report on Form 10-K for the fiscal year ended January 3, 2021, including in the sections captioned “Cautionary
Note Regarding Forward-Looking Statements” and “Item 1A. Risk Factors,” in Johnson & Johnson’s most recently filed Quarterly
Report on Form 10-Q and in Johnson & Johnson’s subsequent filings with the Securities and Exchange Commission. Copies of these
filings are available online at www.sec.gov, www.jnj.com or on request from Johnson & Johnson. Any forward-looking statement made
in this presentation speaks only as of the date of this presentation. Johnson & Johnson does not undertake to update any forward-
looking statement as a result of new information or future events or developments.

[1] Figures represent Total Reported Sales from the 2021 Midpoint of October Sales Dollar Guidance excluding Vaccine. Sales
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dollars are allocated to segments based on September 2021 YTD Actuals sales mix.

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